     Case: 1:20-cv-00117 Document #: 30 Filed: 03/02/20 Page 1 of 3 PageID #:480




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

VICTORIA GUSTER-HINES and             )
DOMINECA NEAL,                        )
                                      )
                       Plaintiffs,    )                Case No. 1:20-cv-00117
                                      )
        v.                            )                Honorable Mary M. Rowland
                                      )
McDONALD’S USA, LLC, a Delaware       )
limited liability company, McDONALD’S )
CORPORATION, a Delaware corporation, )
STEVEN EASTERBROOK,                   )
CHRISTOPHER KEMPCZINSKI, and          )
CHARLES STRONG,                       )
                                      )
                       Defendants.    )

                        DEFENDANTS’ MOTION TO STRIKE
               CERTAIN ALLEGATIONS IN THE AMENDED COMPLAINT

        Defendants, McDonald’s USA, LLC, McDonald’s Corporation, Steven Easterbrook,

Christopher Kempczinski, and Charles Strong (collectively, “Defendants”), by and through their

undersigned counsel, hereby move this Court, pursuant to Rule 12(f) of the Federal Rules of

Civil Procedure, to strike the immaterial, impertinent, and scandalous allegations from the

Amended Complaint (“Complaint”) filed by Plaintiffs Victoria Guster-Hines and Domineca Neal

(collectively, “Plaintiffs”).

        Plaintiffs filed a 92-page Complaint setting forth 296 paragraphs of allegations in a “see

what sticks” approach. The vast majority of the allegations have no arguable relevance to the

otherwise straightforward individual claims of workplace discrimination, harassment and

retaliation asserted by Plaintiffs under Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §

1981 in this action. It is appropriate for this Court to strike such allegations in order to reduce the
      Case: 1:20-cv-00117 Document #: 30 Filed: 03/02/20 Page 2 of 3 PageID #:481




prejudicial impact on Defendants, and to remove unnecessary material from the complaint in

order to focus and streamline the central issues in this litigation to ensure that discovery proceeds

efficiently. The inappropriate allegations include the following:

        1.      Allegations regarding McDonald’s customer base and franchise owners (Am.

Comp. ⁋⁋ 12–20, 42);

        2.      Allegations relating to Plaintiffs’ legally insufficient and untenable pattern and

practice claims (Am. Comp. ⁋⁋ 4–7, 11, 20–25, 43, 59, 61, 117–123);

        3.      Irrelevant and prejudicial allegations falling far outside the governing statute of

limitations period for Plaintiffs’ claims (Am. Comp. ⁋⁋ 47–49, 51–52, 55, 59–66, 68, 82–83);

and

        4.      Allegations that have no factual relevance to the claims asserted in the Complaint

and which seek to embarrass or otherwise humiliate Defendants (Am. Comp. ⁋⁋ 9-10, 19, 20, 38,

43 (b, c, and d), 78(c)).

        For the reasons discussed above and as set forth in Defendants’ Memorandum of Law in

Support of Their Motion to Strike Certain Allegations in the Amended Complaint, Defendants

respectfully request that this Court strike the foregoing allegations.

Dated: March 2, 2020                           Respectfully submitted,

                                               /s/ Nigel F. Telman
                                               Nigel F. Telman
                                               Edward C. Young
                                               Proskauer Rose LLP
                                               70 W Madison, Suite 3800
                                               Chicago, IL 60602-4342
                                               Phone: 312-962-3548
                                               Fax: 312-962-3551
                                               ntelman@proskauer.com
                                               eyoung@proskauer.com
                                               Attorneys for Defendants



                                                  2
      Case: 1:20-cv-00117 Document #: 30 Filed: 03/02/20 Page 3 of 3 PageID #:482




                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on March 2, 2020, the foregoing document was filed

electronically with the Clerk of the Court using the CM/ECF System, and notice was provided

to:

                                    Carmen D. Caruso
                               Carmen D. Caruso Law Firm
                                77 West Washington Street
                                       Suite 1900
                                   Chicago, IL 60602

                                     Linda C. Chatman
                                Chatman Law Offices, LLC
                                   Two Prudential Plaza
                             180 N. Stetson Avenue, Suite 3500
                                    Chicago, IL 60601




                                                 /s/ Edward C. Young
                                                        Edward C. Young
